Case 1:97-cv-00975-RCL Document 28 Filed 08/24/00 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

MICHAEL H. PRICE and )
ROGER K. FREY )
)
Plaintiffs )
) Civil Action No. 97-975 (RCL)
v. )
)
SOCIALIST PEOPLE’S LIBYAN )
ARAB JAMAHIRIYA ) F" g n
) v
> 4
Defendant ) AUG 2 2000
g \ tm
> ‘-°~ wmata "“
ORDER

The Court having considered the defendant’s Motion to Dismiss for lack of subject
matter and personal jurisdiction under the Foreign Sovereign lmmunities Act of 1976, as
amended, and in the alternative, for failure to state claims upon Which relief can be granted,
plaintiffs’ opposition thereto, defendant’s reply and the record herein, for the reasons stated in
an accompanying Memorandum and Opinion, it is hereby

ORDERED that defendant’s l\/Iotion to Dismiss is denied

KQM

aioyce C. Lamberth
United States District Court Judge

DATE; 51 151_ p»v

ll

